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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF RHODE ISLAND

   UNITED STATES OF AMERICA

                 v.                              Criminal Case No. 17-69-S


   EVAN SPECK,
                      Defendant.
                      ORDER OF FORFEITURE (MONEY JUDGMENT)
         WHEREAS, on July 28, 2017, an Information was filed in the District of Rhode

  Island, charging the Defendant, Evan Speck, with Possession with Intent to Dish'ibute

  Steroids in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(E) (Count One); Dish·ibution of

  a Misbranded Drug in violation of 21 U.S.C. §§ 331(a) and 333(a)(2) (Count Two); and

  Money Laundering in violation of 18 U.S.C. § 1956(a)(1)(B)(i) (Count Three);

         WHEREAS, the Information contained a Criminal Forfeiture Allegation,

  pursuant to 21 U.S.C. § 853, which provided notice that the United States would seek

  forfeiture upon conviction of the Defendant of the offense alleged in Count One of the

  Information, of all right, title, and interest in any and all property, real or personal,

  which constitutes or is derived from proceeds traceable to violation 21 U.S.C. § 841,

  used, or intended to be used, in any manner or part, to commit, or to facilitate the

  commission of said violations, including but not limited to the following:

         a.     a money judgment equal to the total amount of money used in. the offense
                charged in Count One;

         WHEREAS, the Criminal Forfeiture Allegation of the Information also provided


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  notice that the United States would seek forfeiture upon conviction of the Defendant of

  the offense alleged in Count One of the Information, of all right, title, and interest in any

  and all property, real or personal, which constitutes or is derived from proceeds

  traceable to violation 21 U.S.C. § 841 used, or intended to be used, in any mam1er or

  part, to commit, or to facilitate the commission of said violation;

         WHEREAS, the property to be forfeited included, but was not limited to, the

  following:

         a. a forfeiture money judgment in the amount of $536,000 (hereinafter the
            "Forfeitable Property");

         WHEREAS, the Criminal Forfeiture Allegation in the Information also provided

  notice that, in the event that any of the above-described forfeitable property, as a result

  of any act or omission of the Defendant, (a) cannot be located upon the exercise of due

  diligence, (b) has been h·ansferred or sold to, or deposited with, a third party, (c) has

  been placed beyond the jurisdiction of the Court, (d) has been substantially diminished

  in value, or (e) has been commingled with other property which cmmot be divided

  without difficulty, it is the intention of the United States, pursuant to 21 U.S.C. § 853(p),

  incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of the

  Defendant, up to the value of the forfeitable property;

         WHEREAS, on August 18, 2017, at a hearing pmsuant to Rule 11 of the Federal

  Rules of Criminal Procedure, the Defendant pled guilty to Counts One through Three of

  the Information, pursuant to a written plea agreement signed by the Defendant on July


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  27,2017, and filed with the Court on July 28,2017. The Court accepted Defendant's

  guilty plea on August 18, 2017;

         WHEREAS, in the Defendant's written plea agreement, the Defendant consented

  to the entry of a forfeiture money judgment in the amount of $536,000;

         WHEREAS, the Defendant consented to the Order of Forfeiture (Money

  Judgment) on the basis that $536,000 constituted, or was derived from, proceeds of the

  Defendant's offenses and therefore, the Defendant agreed to consent to the enhy of an

  order of forfeiture for such property;

         WHEREAS, based on the Defendant's admissions in the written plea agreement

  and his guilty plea on August 18,2017, the United States is entitled to an Order of

  Forfeiture (Money Judgment) consisting of a personal money judgment against the

  Defendant, in the amount of $536,000, pursuant to 21 U.S.C. § 853 (as incorporated by 28

  U.S.C. § 2461(c)); and

         WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides

  that "no ancillary proceeding is required to the extent that the forfeiture consists of a

  money judgment."

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

         1.     The Defendant shall forfeit to the United States the sum of $536,000,

  pursuant to 21 U.S.C. § 853 (as incorporated by 28 U.S.C. § 2461(c)).

         2.     This Court shall retain jurisdiction in the case for the purpose of enforcing



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  this Order.

         3.     The United States may, at any time, move pursuant to Rule 32.2(e) of the

  Federal Rules of Criminal Procedure to amend this Order to include substitute property

  having a value not to exceed the amount set forth in Paragraph 1 to satisfy the money

  judgment in whole or in part.

         4.     The United States may, at any time, conduct pursuant to Rule 32.2(b)(3) of

  the Federal Rules of Criminal Procedure and 21 U.S. C. § 853(m), as incorporated by 28

  U.S.C. § 2461(c), any discovery to identify, locate or dispose of forfeitable property or

  substitute assets, including, but not limited to, depositions and requests for documents,

  elech·onically stored information, and tangible things.

         5.     Pursuant to Rule 32.2(b)(4), this Order shall be included in the sentence

  pronounced and imposed by the Court at the sentencing hearing, and in the criminal

  judgment entered by this Court against the Defendant.


        Ordered this   JJ_ttf.y of )/_~ 2017.
                                            ENTER:




                                            CHIEF~.
                                            UNITED STATES DISTR
                                                                          SMITH
                                                                         T COURT




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